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                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                              (Alexandria Division)


   UNITED STATES OF AMERICA, et al.,
            Plaintiffs,

   v.                                                       Case No. 1:23-cv-00108-LMB-JFA

   GOOGLE LLC,
            Defendant.




        OBJECTIONS OF NON-PARTIES WAVEMAKER GLOBAL LLC, GROUPM
           WORLDWIDE, LLC, VML, LLC, AND YOUNG & RUBICAM LLC,
             TO THE PUBLIC USE AT TRIAL OF CONFIDENTIAL AND
             HIGHLY CONFIDENTIAL DOCUMENTS AND TESTIMONY




   Date: July 26, 2024                                /s/ James D. Sadowski
                                                      James D. Sadowski (VSB #38326)
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                                                      GroupM Worldwide, LLC, VML, LLC and
                                                      Young & Rubicam, LLC




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          Pursuant to Local Civil Rule 5(H) and this Court’s order, (ECF No. 871, the “Order”), non-

  parties Wavemaker Global LLC, GroupM Worldwide, LLC, VML, LLC, and Young & Rubicam

  LLC, each operating at various times as Team Y&R, Y&R, or VMLY&R (VML, LLC and Young

  & Rubicam LLC collectively “Y&R” and together with the remaining non-parties, the “Non-

  Parties”), respectfully submit their objections (the “Objections”) to the proposed use of unredacted

  Confidential and Highly Confidential documents and testimony at trial (the “Trial Materials”).

  The Non-Parties object to the use of the Trial Materials in open court in their unredacted form

  because they contain highly confidential, strategic, and competitively valuable information that if

  made public would cause the Non-Parties serious harm and provide critical advantages to their

  competitors and other customers.1 Notably, the Non-Parties did not themselves review, produce,

  and designate these documents. Rather, it was their clients, the United States Navy and the United

  States Census Bureau, that produced documents -- outside of the Non-Parties’ control -- containing

  the Non-Parties’ Confidential and Highly Confidential information.

          Plaintiff and Defendant presented the Non-Parties with 55 potential exhibits and multiple

  lines of deposition testimony to be used at trial. In an effort to comply with the Court’s Order, the

  Non-Parties and their counsel repeatedly tried to coordinate with Plaintiff and Defendant to

  propose “acceptable” redactions of the Trial Materials. Counsel for the parties refused to do so.

  The Non-Parties have undertaken to review all of the Trial Materials and be judicious in their


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             The documents at issue in these Objections are substantively similar to those documents
  that were the subject of Y&R’s Response to the Pending Motions to Continue Sealing Highly
  Confidential and Confidential Documents Previously Filed Under Seal (ECF No. 813, the
  “Response”). In support of that Response, Y&R filed the Declaration of Christopher Edmondson
  (ECF No. 813-1), a Y&R executive who is also familiar with the remaining Non-Parties’
  documents and interests. Mr. Edmondson’s Declaration explains why the Non-Parties would be
  harmed if their proprietary and confidential information is made public. Due to the similarity of
  the documents at issue in both these Objections and the Response, the Non-Parties hereby
  incorporate by reference the entirety of the Response and Declaration of Christopher Edmondson.

                                                      1
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  objections and proposed redactions, having gotten no insight from the parties as to the relevance

  and likely use of these materials at trial. Of those 55 documents and numerous lines of deposition

  testimony, the Non-Parties have limited their objections to the following 28 documents and two

  portions of deposition testimony, as discussed in further detail below.2

                                      PRELIMINARY STATEMENT

          The Trial Materials are quintessential examples of documents and testimony whose public

  disclosure would severely harm the Non-Parties by revealing private and competitively sensitive

  strategy and pricing information. Such information, if disclosed, would give the Non-Parties’

  competitors critical insight into how the Non-Parties conceive of, price, and execute on media

  buying and advertising campaigns for their clients, including for the United States Navy and

  United States Census, which are two important clients of the Non-Parties with ongoing campaigns

  and bidding processes. Thus, disclosure of the Trial Materials to the public and the Non-Parties’

  competitors without the proposed redactions would have devastating business consequences for

  the Non-Parties. Similarly, public disclosure of the unredacted Trial Materials would also place

  the Non-Parties at a serious disadvantage vis-à-vis their existing and potential customers, were

  they to gain access to the Non-Parties’ internal pricing and staffing information.

          Moreover, the Non-Parties understand that the damages portion of this case is now deemed

  moot (ECF No. 748). Therefore, there is limited public interest in full access to most of the Trial

  Materials, which generally focus on pricing. And, any limited relevance would be heavily

  outweighed by the enormous harm that disclosure would do to the Non-Parties by giving their



          2
              In accordance with the Court’s Order, the Non-Parties are concurrently filing redacted
  versions of the proposed trial exhibits referenced herein, but are not filing proposed redacted
  excerpts of Susan Schiekofer’s deposition testimony because the proposed redactions are limited
  to a few select words and/or lines of testimony, as noted on page 7 (Deposition Transcript Chart).

                                                      2
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  competitors unique insight into understanding how they price, staff and manage campaigns on

  behalf of their clients. Accordingly, the Non-Parties respectfully request that, to the extent the

  parties deem it necessary to introduce the Trial Materials in open court, that they do so with the

  redactions described in the chart below and as filed concurrently with these Objections.

                                             LEGAL STANDARD

          As discussed in greater detail in the Argument section of the Response, the presumption of

  access to judicial records “can be rebutted if countervailing interests heavily outweigh the public

  interests in access.” See Rushford v. New Yorker Mag., Inc., 846 F.2d 249, 253 (4th Cir. 1988); see

  also Virginia Dep’t of State Police v. Washington Post, 386 F.3d 567, 575 (4th Cir. 2004) (quoting

  Rushford). As the Supreme Court held: “the right to inspect and copy judicial records is not absolute.

  Every court has supervisory power over its own records and files, and access has been denied where

  court files” are “sources of business information that might harm” a party’s “competitive standing.”

  Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978). Courts are instructed to consider factors

  such as whether access to the records would allow others to “unfairly gain[]a business advantage.”

  See Washington Post, 386 F.3d 567, 575 (4th Cir. 2004). For example, courts in this Circuit have

  found that sealing is appropriate where the information “would give a windfall to competitors,” grant

  counterparties “an advantage to seek more favorable terms” in future negotiations, or enable

  competitors to “modify their business strategies to” disadvantage the party seeking to seal its

  confidential information.       See, e.g., Fed. Trade Comm’n v. Syngenta Crop Prot. AG, No.

  1:22CV828, 2023 WL 6379625, at *3 (M.D.N.C. Sept. 28, 2023); see also Bayer Cropscience Inc.

  v. Syngenta Crop Prot., LLC, 979 F. Supp. 2d 653, 656–57 (M.D.N.C. 2013) (granting motion to

  seal certain confidential “marketing, sales, and licensing information which is not ordinarily

  public.”).



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                                                 OBJECTIONS

          In total, the Non-Parties object to the unredacted use of 28 documents, and two portions of

  deposition testimony. These objections fall along the following categories.

          First, the Non-Parties object to the use of 21 of the Trial Materials without redactions to

  shield from public view certain Confidential and Highly Confidential strategic information, such

  as information regarding strategy, staffing, spending, and planning, which, if disclosed to the Non-

  Parties’ customers and competitors, would severely harm the Non-Parties.

      Exhibit             Confidentiality               Non-Confidential Description of Overall Subject
       Name                Designation                     Matter and Rationale Supporting Proposed
                                                                             Redactions
   DTX 0616         Highly Confidential               Document redacted to protect information regarding
                                                      the number of hours worked on the 2020 Census
                                                      campaign, which is information that could provide
                                                      competitors with insight into the Non-Parties’ methods
                                                      of staffing and pricing bids and campaigns.
   DTX 0625         Highly Confidential               Invoice redacted to protect highly confidential and
                                                      proprietary billing information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 0852         Highly Confidential               Document redacted to protect highly confidential and
                                                      proprietary budgetary planning and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 0904         Highly Confidential               Invoice redacted to protect highly confidential and
                                                      proprietary billing information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 0941         Highly Confidential               Invoice redacted to protect highly confidential and
                                                      proprietary billing information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 1033         Highly Confidential               Invoice redacted to protect highly confidential and
                                                      proprietary billing information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 1069         Confidential                      Presentation redacted to protect highly confidential and
                                                      proprietary budget information and spend strategy that



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                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 1081         Highly Confidential               Document redacted to protect ongoing, extremely
                                                      sensitive, highly confidential, and current data
                                                      regarding pricing, strategy, and staffing that would be
                                                      invaluable to competitors in an attempt to outbid the
                                                      Non-Parties in future bids.
   DTX 1088         Highly Confidential               Invoice redacted to protect highly confidential and
                                                      proprietary billing information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 1090         Highly Confidential               Invoice redacted to protect highly confidential and
                                                      proprietary billing information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 1094         Highly Confidential               Document redacted to protect ongoing, extremely
                                                      sensitive, highly confidential, and current data
                                                      regarding pricing, strategy, and staffing that would be
                                                      invaluable to competitors in an attempt to outbid the
                                                      Non-Parties in future bids.
   DTX 1101         Highly Confidential               Invoice redacted to protect highly confidential and
                                                      proprietary billing information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 1174         Highly Confidential               Invoice redacted to protect highly confidential and
                                                      proprietary billing information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 1298         Highly Confidential               Invoice redacted to protect highly confidential and
                                                      proprietary billing information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 1304         Highly Confidential               Document redacted to protect highly confidential and
                                                      proprietary budget information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 1326         Confidential                      Document redacted to protect ongoing, extremely
                                                      sensitive, highly confidential, and current data
                                                      regarding pricing, strategy, and staffing that would be
                                                      invaluable to competitors in an attempt to outbid the
                                                      Non-Parties in future bids.
   DTX 1369         Highly Confidential               Invoice redacted to protect highly confidential and
                                                      proprietary billing information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.



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   DTX 1391         Highly Confidential               Document redacted to protect ongoing, extremely
                                                      sensitive, highly confidential, and current data
                                                      regarding pricing, strategy, and staffing that would be
                                                      invaluable to competitors in an attempt to outbid the
                                                      Non-Parties in future bids.
   DTX 1392         Highly Confidential               Invoice redacted to protect highly confidential and
                                                      proprietary billing information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 1393         Confidential                      Document redacted to protect highly confidential and
                                                      proprietary billing information and spend strategy that
                                                      would be invaluable to competitors in an attempt to
                                                      outbid the Non-Parties in future bids.
   DTX 1416         Highly Confidential               Document redacted to protect ongoing, extremely
                                                      sensitive, highly confidential, and current data
                                                      regarding pricing, strategy, and staffing that would be
                                                      invaluable to competitors in an attempt to outbid the
                                                      Non-Parties in future bids.

          Second, the Non-Parties object to the use of seven of the Trial Materials without redactions

  to shield from public view certain personally identifying information.

     Exhibit               Confidentiality                      Non-Confidential Description of
      Name                  Designation                               Proposed Redactions
   DTX 0493             Highly Confidential           Personally identifying information redacted.
   DTX 0551             Confidential                  Personally identifying information redacted.
   DTX 0585             Highly Confidential           Personally identifying information redacted.
   DTX 0604             Highly Confidential           Personally identifying information redacted.
   DTX 0903             Confidential                  Personally identifying information redacted.
   DTX 0943             Highly Confidential           Personally identifying information redacted.
   DTX 0944             Highly Confidential           Personally identifying information redacted.

          Third, the Non-Parties object to the use of two portions of designated deposition testimony,

  for the reasons discussed in further detail below.

      Deposition                Confidentiality                 Non-Confidential Description of Overall
      Transcript                 Designation                   Subject Matter and Rationale Supporting
       Citation                                                          Proposed Redactions
   Transcript of         Highly Confidential                 Redacting references to percentages in 76:10,
   Deposition of                                             76:12, and 76:16 because public disclosure of
   Susan                                                     this number would give customers and
   Schiekofer,                                               competitors insight into strategy that would
   lines 75:24-                                              harm GroupM.
   76:22

                                                         6
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   Transcript of         Confidential                       Redacting information presented in lines 85:8-
   Deposition of                                            11 because the information is not accurately
   Susan                                                    presented, particularly without a broader
   Schiekofer,                                              understanding of the discussed transaction.
   lines 85:1-17.

                                                 CONCLUSION

          For all of the foregoing reasons, the Non-Parties respectfully request that the Trial

  Materials only be introduced, if at all, in their redacted form as proposed in this Objection.


  Date: July 26, 2024                                 /s/ James D. Sadowski
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                                                      Counsel for Non-Parties Wavemaker Global LLC,
                                                      GroupM Worldwide, LLC, VML, LLC and
                                                      Young & Rubicam, LLC



                                         CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on this 26th day of July, 2024, I filed the foregoing Objection

  of Non-Parties Wavemaker Global LLC, GroupM Worldwide, LLC, VML, LLC, and Young &

  Rubicam LLC using the Court’s ECF System, and a copy should be served by Notice of

  Electronic Filing on all persons designated to receive electronic notice in this case.

                                                         /s/ James D. Sadowski
                                                         James D. Sadowski




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